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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

LILLIAN ROMAN,
      Plaintiff,

V.
                                                      CIVIL ACTION NO.:
UNITED PROPERTY & CASUALTY
INSURANCE COMPANY,
     Defendant.


     DEFENDANT UNITED PROPERTY AND CASUALTY INSURANCE COMPANY'S
                         NOTICE OF REMOVAL

        Defendant United Property and Casualty Insurance Company ("UPC") files this Notice of

Removal:

                                       I.      Background

       1.      On August 23, 2017, Plaintiff Lillian Roman ("Plaintiff') filed this lawsuit in Fort

Bend County, Texas, against United Property & Casualty Insurance Company.

       2.      Plaintiff served UPC with a copy of the Petition on August 29, 2017.

       3.      UPC files this notice of removal within 30 days of receiving Plaintiffs initial

pleading. See 28 U.S.C. § 1446(b). In addition, this Notice of Removal is being filed within one

year of the commencement of this action. See id.

       4.      As required by Local Rule 81 and 28 U.S.C. § 1446(a), simultaneously with the

filing of this notice of removal, attached hereto as Exhibit "A" is an Index of Matters Being Filed.

A copy of the Case Docket Sheet is attached as Exhibit "B." A copy of the Civil Case

Information Sheet is attached hereto as Exhibit "C." A copy of Plaintiffs Original Petition, Jury

Demand, and Request for Disclosure is attached as Exhibit "D." A copy of the Request for

Process Form is attached hereto as Exhibit "E." A copy of the Citation and Return of Service is


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attached as Exhibit "F." The List of Counsel and Parties to the Case is attached as Exhibit "G,"

and a copy of the Declaration of Shannon Beck is attached as Exhibit "H." A copy of this Notice

is also being filed with the state court and served upon the Plaintiff.

         5.     Venue is proper in this Court under 28 U.S.C. § 1441(a) because this district and

division embrace Fort Bend County, Texas, the place where the removed action has been

pending.

                                    II.     Basis for Removal

         6.     Removal is proper based on diversity of citizenship under 28 U.S.C. §§ 1332(a),

1441(a) and 1446. This is a civil action between citizens of different states, and the amount in

controversy exceeds the sum of $75,000.00, exclusive of interest and costs.

A.       The Parties Are Of Diverse Citizenship.

         7.    Plaintiff is, and was at the time the lawsuit was filed, a resident and citizen of

Texas.

         8.    UPC was at the time this action was commenced, and still is, a foreign (Florida)

property and casualty insurance company authorized to do business in the State of Texas. UPC

is organized under Chapter 982 of the Texas Insurance Code.

         9.    Because Plaintiff is citizen of Texas and Defendant UPC is a citizen of Florida,

complete diversity of citizenship exists among the parties.

B.       The Amount in Controversy Exceeds $75,000.00.

         10.   This is a civil action in which the amount in controversy exceeds $75,000.00.

Plaintiffs Petition alleges that "Plaintiffs counsel states that Plaintiff seeks only monetary relief

of less than $100,000." See Exhibit D § 59.




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            11.   Further, Plaintiff alleges that Defendant is liable under a residential insurance

policy because Plaintiff made a claim under that policy and Defendant wrongfully adjusted and

denied Plaintiffs claim. Specifically, Plaintiff alleges that Defendant UPC breached insurance

policy number UTD 7526392 00 42, with a Dwelling Limit of $170,000.00, an Other Structures

Limit of $3,400.00, and a Personal Property Limit of $51,000.00, for the property located at

8103 Buffalo Springs Ct., Sugar Land, TX 77479 (the property giving rise to the present

dispute). See Exhibit "M," Beck Declaration, attached hereto and fully incorporated herein by

reference. In determining the amount in controversy, the Court may consider "policy limits. . .

penalties, statutory damages, and punitive damages."            St. Paul Reinsurance Co., Ltd. v.

Greenberg, 134 F.3d 1250, 1253 (5th Cir. 1998).

            12.   In addition to the amounts sought in this litigation by Plaintiff through the policy,

Plaintiffs Original Petition alleges that Defendant is liable under various statutory and common

law causes of action for consequential damages, statutory penalties, treble damages, exemplary

damages, court costs, and attorney's fees. As such, Plaintiffs alleged damages greatly exceed

$75,000.00.

                                    III.   Conclusion and Prayer

        13.       Accordingly, all requirements are met for removal under 28 U.S.C. §§ 1332 and

1441. UPC hereby removes this case to this Court for trial and deteimination.

                                                Respectfully submitted,

                                                /s/ Rhonda J. Thompson
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                                            COUNSEL FOR DEFENDANT
                                            UNITED PROPERTY & CASUALTY
                                            INSURANCE COMPANY


                                CERTIFICATE OF SERVICE

       This is to certify that on the 22nd day of September, 2017, a true and correct copy of the
foregoing was delivered to the following counsel of record by electronic service and/or facsimile
transmission and/or certified mail, return receipt requested:

       Chad T. Wilson
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       Counsel for Plaintiff

                                            /s/ Rhonda J. Thompson
                                            Rhonda J. Thompson




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